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                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE


    In re:                                                      Chapter 11

    CMC II, LLC,1                                               Case No. 21-10461 (JTD)

    Debtors.                                                    (Joint Administration Pending)



      MOTION OF THE DEBTORS FOR ENTRY OF INTERIM AND FINAL ORDERS
      (I) AUTHORIZING THE DEBTORS TO OBTAIN POST-PETITION FINANCING
    PURSUANT TO 11 U.S.C. §§ 105, 361, 362, 364(c)(1), 364(c)(2), 364(c)(3) AND 364(e), (B)
    GRANTING SENIOR LIENS AND SUPERPRIORITY ADMINISTRATIVE EXPENSE
                 STATUS; (II) SCHEDULING FINAL HEARING; AND
                        (III) GRANTING RELATED RELIEF

             CMC II, LLC (“CMC”) and certain of its affiliates, the debtors and debtors-in-possession

in the above-captioned cases (collectively, the “Debtors” or the “Company”), hereby file this

motion (the “Motion”), pursuant to sections 105(a), 361, 362, 364(c)(1), 364(c)(2), 364(c)(3) and

364(e) and 507 of title 11 of the United States Code (as amended, the “Bankruptcy Code”), Rules

2002, 4001, 6003, 6004, and 9014 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”), and Rules 4001-2 and 9013-1 of the Local Rules of Bankruptcy Practice

and Procedure of the United States Bankruptcy Court for the District of Delaware (the “Local

Rules”), for entry of an interim order, substantially in the form attached hereto as Exhibit A (the

“Interim Order”), and a final order (the “Final Order,” and the Final Order together with the

Interim Order, the “DIP Orders”) (a) authorizing Debtors CMC II, LLC (“CMC II”), 207

Marshall Drive Operations LLC, (“Marshall”), and 803 Oak Street Operations LLC (“Governor’s



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      The Debtors in these chapter 11 cases, along with the last four digits of their respective tax identification
      numbers, are as follows: CMC II, LLC (6973), Salus Rehabilitation, LLC (4037), 207 Marshall Drive Operations
      LLC (8470), 803 Oak Street Operations LLC (3900), Sea Crest Health Care Management, LLC (2940), and
      Consulate Management Company, LLC (5824). The address of the Debtors’ corporate headquarters is 800
      Concourse Parkway South, Maitland, Florida 32751.
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Creek” and, together with CMC II and Marshall, each, a “Borrower”), to obtain secured

postpetition financing (the “DIP Financing” or the “DIP Facility”) from CPSTN Operations,

LLC, an affiliate of the Debtors, (the “DIP Lender”) pursuant to that certain Secured

Superpriority Debtor-in-Possession Financing Term Sheet (the “DIP Term Sheet2,” and with the

DIP Orders, the “DIP Documents”), (b) modifying the automatic stay, (c) scheduling a final

hearing (the “Final Hearing”), and (d) granting related relief. In support of the Motion, the

Debtors rely upon and incorporate by reference the Declaration of Paul Rundell in Support of

Chapter 11 Petitions and First Day Papers (the “First Day Declaration”) filed with the Court

concurrently with this Motion. In further support of the Motion, the Debtors respectfully represent

as follows:

                                     PRELIMINARY STATEMENT

         1.       The Debtors require immediate access to liquidity to ensure that they are able to

continue operating their businesses and continue to provide for the uninterrupted care, welfare and

safety of their residents. To that end, prior to filing these chapter 11 cases, the Debtors secured

the DIP Facility consisting of a multi-draw term loan facility with a maximum credit amount of

$5,000,000.00.

         2.       The DIP Facility is subject to the terms and conditions of the DIP Term Sheet, the

Interim Order, the Final Order, and all other security documents, guarantees and other legal

documentation entered into in connection with the DIP Facility. The DIP Facility will ensure that

ongoing business operations and critical resident care can continue without disruption. Among

other things, the proceeds from the DIP Facility, together with anticipated cash flow from

operations, will be used to honor employee wages and benefits, procure goods and services integral



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    A copy of the DIP Term Sheet is attached to the Interim Order as Exhibit 1.

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to the Debtors’ ongoing business operations, fund certain operational expenses, and allow the

Debtors to maintain favorable relationships with their vendors, suppliers, employees and residents,

and satisfy working capital needs in the ordinary course of business. The DIP Facility will enhance

the value of the Debtors’ estates, by enabling a value-maximizing restructuring process, and

providing the Manager Debtor with sufficient liquidity to continue performing its contractual

obligations during these Chapter 11 Cases.

       3.      The Debtors believe that the DIP Facility represents the best and only source of

financing available to the Debtors after conducting a marketing process and generally provides

for:

       •       a $5,000,000.00 million multiple draw DIP Facility secured by first priority
       liens on the DIP Collateral (subject only to certain Prior Permitted Existing Liens);

       •     borrowings and disbursements to be made pursuant to the terms of an agreed
       Budget, a copy of which is attached to the Interim Order (the “Budget”); and

       •       a scheduled maturity date of the DIP Facility of the earlier of (a) 180 days
       from the Petition Date; (b) the effective date of a plan of reorganization or
       liquidation; (c) the consummation of a sale(s) of all or substantially all of the assets
       of the Debtors; (d) the occurrence of an Event of Default; (e) the entry of an order
       by the Court approving or authorizing any alternative or additional debtor-in-
       possession financing; and (f) such later date as the DIP Lender may agree in its sole
       and absolute discretion to in writing with the Borrower.

       4.      Absent interim approval of the DIP Facility, there is a significant risk that the

Debtors will not have sufficient cash flow, thereby potentially threatening the health safety and

welfare of the Debtors’ residents.

       5.      As more fully set forth below, substantially all the Operator Debtors’ (as defined

below) assets are encumbered by the liens of the Operator Debtors’ landlord. After reaching out

to forty (40) other potential sources, the Debtors do not believe debtor-in-possession financing

would be reasonably available from any other party and have determined that the proposed DIP



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Facility provides the best path forward under the circumstances to address their liquidity needs

and fund administration of these chapter 11 cases.

                                        JURISDICTION

       6.      The United States Bankruptcy Court for the District of Delaware (the “Court”) has

jurisdiction over these Chapter 11 Cases, the Debtors, property of the Debtors’ estates and this

matter under 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference from the

United States District Court for the District of Delaware, dated as of February 29, 2012. This is

a core proceeding within the meaning of 28 U.S.C. § 157(b)(2)(A). Pursuant to Local Rule 9013-

1(f) the Debtors consent to the entry of a final judgment or order with respect to this Motion if it

is determined that the Court, absent consent of the parties, cannot enter final orders or judgments

consistent with Article III of the United States Constitution.

       7.      Venue of these cases in this District is proper under 28 U.S.C. §§ 1408 and 1409.

       8.      The statutory bases for the relief requested in the Motion are sections 105(a), 362,

364(c)(1), 364(c)(2), 364(c)(3) and 507 of the Bankruptcy Code. The relief is also appropriate

under Bankruptcy Rules 2002, 4001, 6003, 6004, and 9014 and Local Rules 4001-2 and 9013-1.

                                        BACKGROUND

       9.      On March 1, 2021 (the “Petition Date”), each Debtor commenced a case by filing

a petition for relief under chapter 11 of the Bankruptcy Code (collectively, the “Chapter 11

Cases”). The Debtors have requested that the Chapter 11 Cases be jointly administered.

       10.     The Debtors continue to operate their businesses and manage their properties as

debtors and debtors-in-possession pursuant to Bankruptcy Code sections 1107(a) and 1108.




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       11.      To date, the Office of the United States Trustee for the District of Delaware (the

“U.S. Trustee”) has not appointed a creditors’ committee in the Chapter 11 Cases, nor has any

trustee or examiner been appointed therein.

       12.      The Debtors in these Chapter 11 Cases manage and operate skilled nursing facilities

(“SNFs”), providing a variety of services to mostly elderly residents that include short-term

rehabilitation, comprehensive post-acute care, long-term care, and physical, occupational, and

speech therapies. Debtor CMC II provides management and support services to approximately

140 SNFs, each of which is operated by an affiliate of the Debtors (such SNFs, the “Managed

SNFs”, and such operators, the “Managed SNF Operators”) under the common ownership of

non-Debtor LaVie Care Centers, LLC (“LVCC”), doing business as Consulate Health Care. Two

of the Managed SNF Operators are Debtors in these Chapter 11 Cases: Marshall and Governor’s

Creek (together with Marshall, the “Operator Debtors”). Each of the Operator Debtors operates

a 120-bed SNF located in Northern Florida. The remaining Debtors, Salus, Sea Crest Health Care

Management, LLC, and Consulate Management Company LLC (collectively, the “Guarantors”),

are no longer operational, but historically provided rehabilitation and management services,

respectively.

       13.      Additional factual background regarding the Company’s business operations,

corporate and capital structures, and restructuring efforts are described in greater detail in the

First Day Declaration, which is incorporated in this Motion by reference.

                         THE DEBTORS’ CAPITAL STRUCTURE

       14.      As of the Petition Date, the Debtors are not party to any credit facilities (secured or

otherwise). Prior to the Eleventh Circuit’s partial reinstatement of the verdicts in the Ruckh

Litigation (as more fully described in the First Day Declaration), CMC II and the Operator Debtors



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were party to LVCC’s secured revolving credit facility with MidCap Financial (“MidCap”, and

such facility, the “MidCap Facility”). As a result of the Eleventh Circuit’s decision, MidCap

required the removal of these entities as borrowers or guarantors of the MidCap Facility, which

removals were effective as of August 26, 2020.

       15.     Also prior to the Eleventh Circuit’s partial reinstatement of the verdicts in the

Ruckh Litigation, the Operator Debtors subleased their respective SNFs from affiliated master

tenants under a master lease (the “Original Master Lease”) with certain affiliates of Omega

Healthcare Investors (“Omega”) that covered the Marshall and Governor’s Creek SNFs and 42

other facilities. Following the Eleventh Circuit’s decision, Omega required removal of the

Operator Debtors’ SNFs from the Original Master Lease and the creation of a new master lease

(the “New Master Lease”) between the Operator Debtors and the Omega affiliates that own the

real estate for the Operator Debtors’ SNFs (the “Omega Landlords”). Accordingly, the Original

Master Lease and certain ancillary documents were amended as of August 26, 2020 to remove the

real estate occupied by the Operator Debtors’ SNFs from the lease and modify a judgment default

provision to ensure that it would not be triggered by entry of a judgment in the Ruckh Litigation.

Contemporaneously therewith, the Operator Debtors and the Omega Landlords entered into the

New Master Lease.

       16.     The initial term of the New Master Lease expires on March 31, 2031 and is subject

to two successive ten-year renewal options.       Annual base rent under the Master Lease is

$1,522,066.92. The Operator Debtors granted a security interest in substantially all of their assets

to the Omega Landlords.

       17.     Prior to the Petition Date, certain of the Debtors entered into various secured

equipment and personal property leases (the “Equipment Lessors”). The Equipment Lessors



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have liens on specific pieces of equipment and/or personal property identified in their lease

agreements and UCC-1s.

                          ALTERNATIVE FINANCING EFFORTS

       18.     Prior to the Petition Date, Evans Senior Investments (“ESI”), the Debtors’ broker

and Paul Rundell (“Mr. Rundell”), the Debtors’ Chief Restructuring Officer (the “CRO”),

evaluated options for obtaining unsecured debtor in possession financing (“DIP”) or alternative

DIP financing. ESI solicited forty (40) third party-lenders and received no indications of interest

for financing the Debtors during these Chapter 11 Cases. The Debtors only received the proposed

DIP Term Sheet from the DIP Lender. The DIP Lender is an affiliate of the Debtors.

       19.     Ultimately, the Debtors, in conjunction with their advisors, determined that the

terms and conditions of the proposed DIP Financing was and remains the best available under the

circumstances and adequately addresses the Debtors’ financing needs during these Chapter 11

Cases. Importantly, the DIP Financing was negotiated at arms’ length among the proposed DIP

Lender, the Debtors’ proposed counsel, and the CRO, and was vetted and approved by Alan Carr,

the Debtors’ independent manager (the “Independent Manager”).

       20.     The DIP Financing provides the best and only path forward to address the Debtors

immediate liquidity needs to ensure that they are able to continue operating their businesses and

provide for the care, welfare and safety of their residents.

                                     RELIEF REQUESTED

       21.     By this Motion, the Debtors seek entry of the DIP Orders (a) authorizing the

Debtors to borrow funds under the DIP Facility in an aggregate principal amount of up to

$1,000,000.00 on an interim basis and up to $5,000,000.00 on a final basis (collectively, the “DIP

Loans”), pursuant to the terms and conditions of the DIP Term Sheet; (b) modifying the automatic


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stay to the extent necessary to grant the DIP Lender the security interests, superpriority claims,

liens, and secured claims set forth under the DIP Facility; (c) scheduling the Final Hearing, and

(d) granting related relief.

            SUMMARY OF PRINCIPAL TERMS OF THE DIP FACILITY3 AND
            HIGHLIGHTED PROVISIONS UNDER LOCAL RULE 4001-2(A)(1)

          22.      Pursuant to Bankruptcy Rule 4001 and Local Rule 4001-2, the following is: (i) a

concise summary of the proposed material terms of the DIP Facility and the DIP Term Sheet; and

(ii) certain terms that constitute material provisions requiring explicit disclosure under the Local

Rules:

                              CMC II, LLC, 207 Marshall Drive Operations LLC, and 803 Oak
        Borrowers             Street Operations LLC

        Guarantors            Salus Rehabilitation, LLC, Sea Crest Health Care Management, LLC,
                              and Consulate Management Company, LLC

       DIP Lender             CPSTN Operations, LLC (together with such lender’s successors and
                              permitted assigns)

                              Subject to the terms and conditions set forth in the Term Sheet, the
                              Interim Order, the Final Order, and the other DIP Documents, the DIP
                              Lender will make loans to the Borrowers under a secured superpriority
                              debtor-in-possession multi-draw term loan facility, in an aggregate
            DIP
                              principal amount not to exceed $5,000,000 for all DIP Loans made by
    Facility/Borrowing
                              the DIP Lender plus all capitalized interest thereon (such amount, the
           Limits
                              “Principal Amount”). Until the date on which the Final DIP Order is
                              entered, the Borrowers shall not be permitted to borrow DIP Loans
     Bankruptcy Rule
                              exceeding an aggregate principal amount of $1,000,000 plus all
    4001(c)(1)(B) and
                              capitalized interest (the “Interim Amount”).
    Local Rule 4001-
        2(a)(i)(A)
                              Subject to the terms and conditions of the Term Sheet and satisfaction
                              of the Advance Conditions, the DIP Facility shall be made available to
                              the Borrowers in advances (each an “Advance”) to be extended from
                              time to time by the DIP Lender. The Amount of each such Advance


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     The below is intended to be a summary only and the terms of the DIP Term Sheet and the DIP Documents control
     in all respects. Capitalized terms set forth in this summary shall have the meaning ascribed to them in the DIP
     Term Sheet.

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                    shall be based on the funding needs of the Borrowers as set forth in the
                    Budget as agreed to by the DIP Lender.

                    See Interim Order at paragraphs A(ii), A(viii), and 3; Term Sheet at
                    pages 1 and 2.

  Interest Rate     All amounts outstanding under the DIP Facility will PIK interest at a
                    rate equal to 8% per annum, compounded monthly. Upon the
 Bankruptcy Rule    occurrence and during the continuation of an Event of Default, all
4001(c)(1)(B) and   overdue amounts shall bear interest at the applicable interest rate plus
Local Rule 4001-    2% per annum. All interest shall be computed on the basis of a 360-day
    2(a)(i)(B)      year of twelve 30-day months.

                    See DIP Term Sheet at page 4.

      Fees
                    A fee equal to 2% of the outstanding DIP Obligations, payable at
 Bankruptcy Rule
                    maturity.
4001(c)(1)(B) and
Local Rule 4001-
                    See DIP Term Sheet, page 8.
    2(a)(i)(B)

                    The 13-week budget from time to time in effect as approved by the
    Budget          Lender in its sole and absolute discretion (the “Budget”). The Debtors
                    may request changes to the then-approved Budget, which changes shall
 Bankruptcy Rule    be subject to the DIP Lender’s approval (in its sole and absolute
4001(c)(1)(B) and   discretion). Compliance with the Budget will be measured every week
Local Rule 4001-    (commencing on the date that is two weeks after the Petition Date) on a
    2(a)(i)(E)      trailing four-week basis (or, with respect to the first test date, on a
                    trailing two-week basis and, with respect to the second test date, on a
                    trailing three-week basis). The Debtors agree to provide such additional
                    budgeting and cash forecasting documents as the DIP Lender may
                    reasonably request.
                    Debtors shall adhere to the Budget, subject to Permitted Variances.
                    “Permitted Variances” means (i) all favorable variances, (ii) an
                    unfavorable variance of no more than 10% for (A) total disbursements
                    paid by the Debtors, and (B) total receipts of the Debtors, in each case
                    from the amounts set forth in the applicable Budget on a weekly and
                    cumulative basis (each such period, the “Testing Periods”).
                    See Interim Order at paragraph 15; Term Sheet at pages 3 and 4.

  Closing Date      Subject to the terms and conditions of the Term Sheet, the Interim DIP
                    Order, the Final DIP Order, the other DIP Documents and satisfaction
                    of the Advance Conditions, the DIP Facility shall be made available to

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 Bankruptcy Rule       the Borrowers in advances (each an “Advance”) to be extended from
  4001(c)(1)(B)        time to time by the DIP Lender.

                       See Term Sheet at page 2.
     Conditions        The DIP Lender shall have no obligation to fund any Advance, unless
 Precedent to the      the Debtors have executed and submitted a valid Advance Request
Initial Extension of   Certificate and each of the following conditions (collectively, the
 Credit and Each       “Advance Conditions”) is satisfied:
        Loan
                       1.     If the Advance Request Certificate is issued within the first 30
  Bankruptcy Rule             days after the Petition Date, an order approving the DIP Facility
 4001(c)(1)(B) and            on an interim basis shall have been entered in the form attached
 Local Rule 4001-             hereto as Exhibit A and otherwise acceptable to the DIP Lender
     2(a)(i)(E)               in its sole and absolute discretion (the “Interim DIP Order”),
                              and such Interim DIP Order shall be in full force and effect, and
                              not subject to any stay or appeal;

                       2.     If the Advance Request Certificate is issued on or after the 30th
                              day following the Petition Date, an order approving the DIP
                              Facility on a final basis shall have been entered substantially in
                              the form of the Interim Order and otherwise in form and
                              substance acceptable to the DIP Lender in its sole and absolute
                              discretion (the “Final DIP Order”), and such Final DIP Order
                              shall be in full force and effect, and not subject to any stay or
                              appeal;

                       3.     All other “first-day” and, if such Advance Request Certificate is
                              issued after the second-day hearing, “second-day” orders shall
                              have been entered in form and substance reasonably acceptable
                              to the DIP Lender by the Court and shall be in full force and
                              effect, and not subject to any stay or appeal;

                       4.     Receipt and acceptance of the Budget by the DIP Lender (in its
                              sole and absolute discretion) and compliance in all respects with
                              the Budget by the Debtors;

                       5.     All representations and warranties contained in the DIP
                              Documents shall be true as if each such representation or
                              warranty was made as of the date of such Advance Request
                              Certificate, and the Debtors shall be in compliance with all
                              affirmative and negative covenants contained herein in each
                              Advance Request Certificate and all Milestones;

                       6.     There shall be no existing or continuing Event of Default or
                              Termination Event (both before and after giving effect to the
                              draw);


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                    7.     Receipt of the Advance Request Certificate; and

                    8.     No change in circumstances has occurred that has had or could
                           reasonably be expected to have a material and adverse impact
                           on the Debtors, the Debtors’ business, or the Debtors’ ability to
                           pursue and implement a Restructuring.

                    The Debtors’ compliance with the Advance Conditions will be
                    determined by the DIP Lender.
                    See Term Sheet at page 4-5.
                    The DIP Facility shall be paid in full in cash or otherwise satisfied in a
   Maturity         manner agreed to by the DIP Lender in its sole discretion on the date
                    (the “Maturity Date”) which is the earliest of (a) 180 days from the
Bankruptcy Rule     Petition Date; (b) the effective date of a plan of reorganization or
 4001(c)(1)(B)      liquidation; (c) the consummation of a sale(s) of all or substantially all
                    of the assets of the Debtors; (d) the occurrence of an Event of Default;
                    (e) the entry of an order by the Court approving or authorizing any
                    alternative or additional debtor-in-possession financing; and (f) such
                    later date as the DIP Lender may agree in its sole and absolute discretion
                    to in writing with the Borrower.
                    See Interim Order at paragraph 45; Term Sheet at page 4.
                    Each Debtor shall grant to the DIP Lender continuing valid, binding,
   Collateral       enforceable, non-avoidable, and automatically and properly perfected,
                    nunc pro tunc to the Petition Date, post-petition security interests in and
 Bankruptcy Rule    liens (collectively, the “DIP Liens”) on any and all of each Debtors’
4001(c)(1)(B) and   right, title and interest in all real and personal property of the Debtors
Local Rule 4001-    and their estates existing as of the Petition Date or acquired after the
    2(a)(i)(J)      Petition Date (the “DIP Collateral”), including, without limitation, real
                    or personal, tangible or intangible, now owned or hereafter acquired,
                    whether arising before or after the Petition Date, including, without
                    limitation, all permits, contracts, management agreements, general
                    intangibles, permits, licenses, statutory entitlements, instruments,
                    equipment, accounts, and documents, all goods, inventory and fixtures,
                    all documents, cash, cash equivalents, chattel paper, letters of credit and
                    letter of credit rights, investment property, claims (including
                    commercial tort claims and any claims against affiliates of the Debtors),
                    causes of action, money, insurance, receivables, receivables records,
                    deposit accounts, contract rights, payment intangibles, collateral
                    support, supporting obligations and instruments, all interests in
                    leaseholds and real properties, all patents, copyrights, trademarks,
                    tradenames and other intellectual property, all equity interests, all books
                    and records relating to the foregoing, all other personal and real property
                    of the Debtors, and all other collateral pledged under the DIP
                    Documents, and all proceeds, products, accessions, rents and profits of
                    or in respect of any of the foregoing (in each case as the foregoing are

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                      defined in the Uniform Commercial Code as in effect from time to time
                      in the State of Delaware (and, if defined in more than one Article of such
                      Uniform Commercial Code, shall have the meaning given in Article 9
                      thereof)). For the avoidance of doubt, the DIP Collateral shall not
                      include Avoidance Actions (as defined below), but shall, upon entry of
                      a Final DIP Order, include the proceeds of Avoidance Actions.

                      See Interim Order at paragraphs 11 and 12; Term Sheet at page 6.
                              The DIP Obligations, pursuant to sections 364(c)(1), 364(c)(2),
       DIP                    and 364(c)(3) of the Bankruptcy Code:
Liens/Superpriority
  Administrative          (i) shall constitute (without the need to file a proof of claim) joint
   Claim Status                and several superpriority claims against each Debtor, with
                               priority over any and all administrative expenses of the
  Bankruptcy Rule              Debtors, whether now existing or hereafter arising or incurred,
 4001(c)(1)(B) and             of any kind whatsoever, including any and all administrative
 Local Rule 4001-              expenses or other claims of the kind specified in or arising
     2(a)(i)(J)                under sections 105, 326, 328, 330, 331, 364, 365, 503(b),
                               506(c) (subject to entry of the Final DIP Order), 507, 546(c),
                               552(b) (subject to entry of the Final DIP Order), 726, 1113,
                               1114, or any other provision of the Bankruptcy Code, whether
                               or not such expenses or claims may become secured by a
                               judgment Lien or other non-consensual lien, levy or
                               attachment, whether now in existence or hereafter incurred by
                               the Debtors, and shall at all times be senior to the rights of any
                               Debtor, any Debtor’s estate, and any successor trustee, estate
                               representative, or any creditor, in any of the Chapter 11 Cases
                               or any successor case;

                          (ii) shall be secured by valid, enforceable, non-avoidable, and fully
                               perfected first priority security interests in and liens and
                               mortgages upon (in favor of the DIP Lender) all DIP Collateral
                               that is not otherwise subject to any Existing Lien as of the
                               Petition Date, subject only to the Carve Out; and

                          (iii) shall be secured by valid, enforceable, non-avoidable, and fully
                                perfected security interests in and liens and mortgages upon (in
                                favor of the DIP Lender) all DIP Collateral that is subject to an
                                Existing Lien as of the Petition Date, subject only to (a) any
                                such Existing Lien and (b) the Carve Out.

                          See Interim Order at paragraphs A(iii), 10, 11; Term Sheet at pages
                               6 and 7.




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 Prepayments        The DIP Loans may be permanently prepaid in full by the Debtors at any
                    time.
Bankruptcy Rule
 4001(c)(1)(B)      See Term Sheet at page 4.

                    The Loan Parties shall achieve the following milestones (the
DIP Milestones      “Milestones”):

 Bankruptcy Rule       1.   Commencement of the Chapter 11 Cases (the “Petition Date”)
4001(c)(1)(B) and           no later than March 2, 2021;
Local Rule 4001-
   2(a)(i)(H)          2.   Not later than the Petition Date, the Debtors shall file with the
                            Bankruptcy Court a motion seeking approval of the DIP
                            Facility, this Term Sheet, the DIP Loans, and all fees, interest,
                            indemnification and other obligations and the security interests
                            and superpriority claims contemplated hereby;

                       3.   The Court shall enter the Interim DIP Order, in form and
                            substance satisfactory to the DIP Lender in its sole and absolute
                            discretion no later than three (3) business days after the Petition
                            Date;

                       4.   The Court shall enter the Final DIP Order, in form and substance
                            satisfactory to the DIP Lender in its sole and absolute discretion
                            no later than thirty (30) days after the Petition Date;

                       5.   Not later than eight (8) business days after the Petition Date, the
                            Debtors shall file with the Bankruptcy Court a sale motion and
                            bid procedures motion, which shall be in form and substance
                            reasonably acceptable to the DIP Lender and shall approve such
                            stalking horse agreements and arrangements as are acceptable to
                            the Debtors and the DIP Lender (the “Bidding Procedures
                            Motion”);

                       6.   Not later than twenty-five (25) days after the Debtors file the
                            Bidding Procedures Motion, a hearing to consider approval of
                            the Bidding Procedures Motion shall be held in the Bankruptcy
                            Court and the Bankruptcy Court shall have entered a final order,
                            approving the bid procedures for a section 363 sale of the
                            Debtors’ assets, which order shall be in form and substance
                            reasonably acceptable to the DIP Lender and approving such
                            stalking horse agreements and arrangements as are acceptable to
                            the Debtors and the DIP Lender (the “Bidding Procedures
                            Order”);



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                         7.   The deadline for bidding under the Bidding Procedures Order
                              shall be a date not later than 65 days following the Petition Date;

                         8.   Any auction contemplated by the Bidding Procedures Order, if
                              necessary, shall be conducted not later than 70 days following
                              the Petition Date;

                         9.   Not later than 75 days following the Petition Date, a sale hearing
                              shall be held in the Bankruptcy Court and the Bankruptcy Court
                              shall enter a sale order in form and substance reasonably
                              acceptable to the DIP Lender; and

                         10. The repayment in full of the DIP Obligations shall occur on the
                             Maturity Date.

                    See Interim Order at paragraphs 15(d) and 24; Term Sheet at Exhibit C.
                    The following shall constitute Events of Default under the DIP Facility:
Events of Default
                    1.        The Final DIP Order shall not be entered by the Court in form
 Bankruptcy Rule              and substance acceptable to the DIP Lender in its sole and
4001(c)(1)(B) and             absolute discretion by no later than 30 days after the Petition
Local Rule 4001-              Date;
   2(a)(i)(M)
                    2.        Failure by the Debtors to comply with the terms and conditions
                              of the DIP Documents (including the affirmative covenants,
                              negative covenants, and other covenants and agreements
                              contained herein or in any Advance Request Certificate);

                    3.        Cessation of the full force and effect of the DIP Documents or
                              the contesting of the same by the Debtors;

                    4.        The granting or incurrence of any claim that is senior in priority
                              to the DIP Superpriority Claims;

                    5.        The incurrence of any debt obligations by the Debtors, except
                              as provided in the Approved Budget and approved by the
                              applicable orders of the Court;

                    6.        The granting or incurrence of any lien that is senior in priority
                              to the DIP Liens, except as expressly permitted herein;

                    7.        The making of payments in contravention of the DIP
                              Documents and the Approved Budget, subject only to the
                              Permitted Variances;

                    8.        The Debtors shall fail to be in compliance with the Approved
                              Budget, subject only to the Permitted Variances;


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                      9.      Dismissal of the Chapter 11 Cases, or conversion of the
                              Chapter 11 Cases to cases under Chapter 7 of the Bankruptcy
                              Code, or failure by the Debtors to contest any proposed
                              dismissal or conversion;

                      10.     Any modification, appeal, or reversal of the Interim Order or
                              the Final Order;

                      11.     Appointment of any trustee or examiner with expanded powers
                              in the Chapter 11 Cases;

                      12.     Entry of an order modifying or lifting the automatic stay
                              seeking to recover from the assets of the Debtors an amount in
                              excess of $250,000 (or multiple such orders which, in the
                              aggregate, seek to recover an amount in excess of $250,000);

                      13.     Entry of an unstayed judgment over $500,000 or a non-
                              monetary judgment that would have a material and adverse
                              impact on the Debtors, the Debtors’ business, or the Debtors’
                              ability to pursue and implement a Restructuring;

                      14.     The Interim Order or Final Order being amended or modified
                              without the consent of the DIP Lender;

                      15.     Any representation or warranty made by any Debtor herein or
                              in any other DIP Facility Document shall prove to be untrue in
                              any material respect on the date as of which made or deemed
                              made; and

                      16.     Failure by the Debtors to comply with the Milestones set forth
                              on Exhibit C to the DIP Term Sheet.

                      See Interim Order at paragraph 24; Term Sheet at pages 10 and 11.

  Parties with an
 Interest in Cash     As set forth above, the Operator Debtors granted a security interest in
    Collateral        substantially all of their assets to the Omega Landlords.

 Bankruptcy Rule
 4001(b)(1)(B)(i)

Purposes for Use of All advances under the DIP Facility shall be used by the Debtors solely
  DIP Proceeds      to (i) fund (x) the Debtors’ post-petition operating expenses and general
                    corporate and working capital requirements, and (y) the expenses of the
 Bankruptcy Rule    Chapter 11 Cases, (ii) make any prepetition payments expressly
 4001(b)(1)(B)(ii)  permitted by the Term Sheet and permitted by orders of the Court, and
                    (iii) pursue, negotiate, document, and implement a sale process, to be


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                    completed pursuant to section 363 of the Bankruptcy Code, and/or a plan
                    of reorganization or liquidation as applicable (the “Restructuring”),
                    each of the above in accordance with and to the extent provided for in
                    the Budget.

                    See Interim Order at paragraph 8; Term Sheet at page 3.
                    Carve-Out. As used in this Interim Order and the other DIP Documents,
   Carve-Out        the term “Carve-Out” shall mean an amount equal to the sum of (i) all
                    fees required to be paid to the clerk of the Bankruptcy Court and to the
 Bankruptcy Rule    Office of the United States Trustee under section 1930(a) of title 28 of
4001(c)(1)(B) and   the United States Code plus interest at the statutory rate (without regard
Local Rule 4001-    to the notice set forth in clause (iii) below); (ii) all reasonable fees and
    2(a)(i)(F)      expenses of up to $25,000 incurred by a trustee under section 726(b) of
                    the Bankruptcy Code (without regard to the notice set forth in clause (iii)
                    below); and (iii) allowed and unpaid claims for unpaid fees, costs, and
                    expenses (the “Allowed Fees”) incurred by persons or firms retained by
                    the Debtors or any official committee of unsecured creditors in the
                    Chapter 11 Cases (the “Creditors’ Committee”), if appointed, whose
                    retention is approved by the Court pursuant to section 327, 328, and
                    1103 of the Bankruptcy Code (collectively, the “Professional
                    Persons”), in all cases subject to the terms of the Interim Order, the
                    Final Order and any other interim or other compensation order entered
                    by the Court that are incurred or earned (A) at any time before delivery
                    of a Carve-Out Trigger Notice (as defined below), whether allowed by
                    the Court prior to or after delivery of a Carve-Out Trigger Notice, less
                    the amount of any prepetition retainers of such Professional Persons not
                    previously applied to fees and expenses, subject to any limits imposed
                    by the Budget, the Interim Order, the Final Order or otherwise on
                    Allowed Fees, including with respect to any Allowed Fees permitted to
                    be incurred in connection with any permitted investigations of claims
                    and defenses against the DIP Lender; and (B) starting on the first day
                    following delivery of a Carve-Out Trigger Notice (as defined below), in
                    an aggregate amount not to exceed $150,000, less the amount of any
                    prepetition retainers of such Professional Persons not previously applied
                    to fees and expenses (the amount set forth in this clause (iii)(B) being
                    the “Post-EoD Carve-Out Amount”); provided that nothing herein
                    shall be construed to impair the ability of any party to object to the fees,
                    expenses, reimbursement or compensation described in clauses (i), (ii),
                    (iii)(A) or (iii)(B) above, on any grounds. For purposes of the foregoing,
                    “Carve-Out Trigger Notice” shall mean a written notice delivered by
                    email (or any other means permitted under the DIP Documents) by the
                    DIP Lender to the Debtors, the Debtors’ restructuring counsel, the
                    United States Trustee, and lead counsel for the Creditors’ Committee, if
                    any, which notice may be delivered upon the Trigger Date and during
                    the continuation of a Termination Event, stating that the Post-EoD



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                       Carve-Out Amount has been invoked. “Trigger Date” means the date
                       upon which a Termination Event occurs.

                       See Interim Order at paragraph 14; Term Sheet at page 7.

  Modification of      The automatic stay shall be modified as necessary to effectuate all of the
  Automatic Stay       terms and provisions of the Interim Order and Final Order, including,
                       without limitation, to permit the Debtors to grant the DIP Liens.
 Bankruptcy Rule
 4001(c)(1)(B)(iv)     See Interim Order at paragraph 18.


   Section 506(c)
      Waiver           Subject to the entry of the Final Order, the DIP Facility includes a waiver
                       of the Debtors’ right to assert any claims to surcharge against the DIP
  Bankruptcy Rule      Collateral pursuant to section 506(c) of the Bankruptcy Code.
4001(c)(1)(B)(x) and
 Local Rule 4001-    See Interim Order at paragraph 32.
     2(a)(i)(V)

                       Debtors shall indemnify and hold harmless the DIP Lender and its
 Indemnification       affiliates and officers, directors, employees, agents and advisors from
                       and against all losses, liabilities, claims, damages or other expenses
 Bankruptcy Rule       arising out of or relating to the DIP Facility Documents and Debtors’
 4001(c)(1)(B)(ix)     use of the financing provided thereunder.

                   See Interim Order at paragraph 13; Term Sheet at page 11
                   Subject to entry of a Final Order, the obligations of the Debtors under
Liens on Avoidance the DIP Facility shall, subject to the Carve-Out, grant a first priority lien
      Actions      to the DIP Lender, on any proceeds (the “Avoidance Action Proceeds”)
                   of the Debtors’ claims and causes of action arising under sections
  Bankruptcy Rule  502(d), 544, 545, 547, 548, 549, 550, and 553 of the Bankruptcy Code
 4001(c)(1)(B)(xi) and any other avoidance or similar action under the Bankruptcy Code or
  and Local Rule   similar state law (each, an “Avoidance Action”).
  4001-2(a)(i)(U)
                   See Interim Order at paragraphs A(iii)(d) and 11; Term Sheet at page 6.

      Cross            The Interim Order provides for the guaranty of the DIP Obligations by
 Collateralization     the non-Borrower Debtors.

 Local Rule 4001-      See Interim Order at paragraphs A(i), 5 and 6; Term Sheet at page 5.
    2(a)(i)(N)
                       Subject to the entry of the Final Order, the DIP Facility includes a waiver
  Section 552 and      of (a) “equities of the case” claims under section 552(b) of the
   Marshalling         Bankruptcy Code; and (b) authorization for the waiver of the Debtors’
     Waivers

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                           right to assert the equitable doctrine of “marshaling” or any similar
      Bankruptcy Rule      doctrine with respect to the DIP Collateral.
     4001(c)(1)(B)(viii)
             and           See Interim Order at paragraph 33 and 34.
      Local Rule 4001-
     2(a)(i)(W) and (X)



                                         BASIS FOR RELIEF

I.        THE DIP FACILITY SHOULD BE APPROVED.

          A.     Entering into the DIP Documents is an Exercise of the Debtors’ Sound
                 Business Judgment.

          23.    The Court should authorize the Debtors to enter into the DIP Documents and

obtain access to the DIP Facility. Section 364 of the Bankruptcy Code authorizes a debtor to

obtain secured or superpriority financing under certain circumstances discussed in detail below.

Courts grant a debtor-in-possession considerable deference in acting in accordance with its

business judgment in obtaining postpetition secured credit, so long as the agreement to obtain

such credit does not run afoul of the provisions of, and policies underlying, the Bankruptcy

Code. See, e.g., In re L.A. Dodgers LLC, 457 B.R. 308, 313 (Bankr. D. Del. 2011) (“[C]ourts

will almost always defer to the business judgment of a debtor in the selection of the lender.”); In

re Trans World Airlines, Inc., 163 B.R. 964, 974 (Bankr. D. Del. 1994) (approving postpetition

loan and receivables facility because such facility “reflect[ed] sound and prudent business

judgment”); In re Ames Dep’t Stores, Inc., 115 B.R. 34, 40 (Bankr. S.D.N.Y. 1990) (“Cases

permit reasonable business judgment to be exercised so long as the financing agreement does not

contain terms that leverage the bankruptcy process and powers or its purpose is not so much to

benefit the estate as it is to benefit parties in interest.”).




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        24.     Specifically, to determine whether the business judgment standard is met, a court

need only “examine whether a reasonable business person would make a similar decision under

similar circumstances.” In re Exide Techs., 340 B.R. 222, 239 (Bankr. D. Del. 2006); see also In

re Curlew Valley Assocs., 14 B.R. 506, 513–14 (Bankr. D. Utah 1981) (noting that courts should

not second guess a debtor’s business decision when that decision involves “a business judgment

made in good faith, upon a reasonable basis, and within the scope of [the debtor’s] authority under

the [Bankruptcy] Code”).

        25.     Furthermore, in considering whether the terms of postpetition financing are fair and

reasonable, courts consider the terms in light of the relative circumstances of both the debtor and

the potential lender. In re Farmland Indus., Inc., 294 B.R. 855, 886 (Bankr. W.D. Mo. 2003); see

also Unsecured Creditors’ Comm. Mobil Oil Corp. v. First Nat’l Bank & Trust Co. (In re

Elingsen McLean Oil Co., Inc.), 65 B.R. 358, 365 (W.D. Mich. 1986) (recognizing a debtor may

have to enter into “hard bargains” to acquire funds for its reorganization). The Court may also

appropriately take into consideration non-economic benefits to the debtor offered by a proposed

postpetition facility.

        26.     The Debtors’ determination to move forward with the DIP Facility is an exercise

of their sound business judgment following an arms’ length process and careful evaluation of

their lack of alternatives. Specifically, as more fully set forth above, prior to the Petition Date,

ESI ran a process to solicit offers from third parties to provide DIP financing for these Debtors.

Ultimately, ESI received no indications of interest from third parties to provide a DIP Facility.

The Debtors only received a proposal from the DIP Lender, an affiliate of the Debtors.

        27.     The Debtors’ determination to move forward with the DIP Facility is an exercise

of their sound business judgment following an arms’ length process and careful evaluation of



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their lack of alternatives. Specifically, as more fully set forth above, prior to the Petition Date,

ESI ran a process to solicit offers from third parties to provide DIP financing for these Debtors.

Ultimately, ESI received no indications of interest from third parties to provide a DIP Facility.

The Debtors only received a proposal from the DIP Lender, an affiliate of the Debtors.

       28.     The terms of the DIP Facility were negotiated in good faith at arms’ length by the

proposed DIP Lender, the Debtors’ proposed counsel, and the CRO, and were vetted and approved

by the Debtors’ Independent Manager. The result of these arm’s length negotiations resulted in a

DIP Facility that has a reasonable interest rate, PIK interest, reasonable sale milestones and other

terms and conditions that are at or below market. The Debtors believe that they have obtained the

best and only financing available on commercially reasonable terms. Entry into the DIP Facility

is in the best interests of the Debtors’ estates and is an exercise of the Debtors’ sound business

judgment and should be approved.

       B.      The Debtors Should Be Authorized to Obtain Postpetition Financing on a
               Senior Secured and Superpriority Basis.

       28.     The Debtors propose to obtain financing under the DIP Facility by providing

security interests and liens as set forth above pursuant to section 364 of the Bankruptcy Code. The

statutory requirement for obtaining postpetition credit under section 364(c) is a finding, made after

notice and hearing, that a debtor is “unable to obtain unsecured credit allowable under Section

503(b)(1) of the [the Bankruptcy Code].” 11 U.S.C. § 364(c). See In re Crouse Grp., Inc., 71 B.R.

544, 549 (Bankr. E.D. Pa. 1987) (secured credit under section 364(c) of the Bankruptcy Code is

authorized, after notice and hearing, upon showing that unsecured credit cannot be obtained).

       29.     Courts have articulated a three-part test to determine whether a debtor is entitled

to financing under section 364(c) of the Bankruptcy Code. Specifically, courts look to whether:

       (a)   the debtor is unable to obtain unsecured credit under section 364(b) of the
       Bankruptcy Code, i.e., by allowing a lender only an administrative claim;
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       (b)     the credit transaction is necessary to preserve the assets of the estate; and

       (c)    the terms of the transaction are fair, reasonable, and adequate, given the
       circumstances of the debtor-borrower and proposed lenders.

In re Ames Dep’t Stores, 115 B.R. at 37-39; see also In re St. Mary Hosp., 86 B.R. 393, 401-02

(Bankr. E.D. Pa. 1988); Crouse Grp., 71 B.R. at 549.

       30.     Prior to negotiating the DIP Facility, the Debtors, together with their advisors,

considered other sources of postpetition financing to determine whether they could obtain debtor-

in-possession financing on better terms. As set forth above, prior to the Petition Date, ESI reached

out to numerous third parties to obtain debtor in possession financing, but received no indications

of interest. Absent sufficient financing to operate the Debtors’ businesses during these Chapter 11

Cases, the Debtors will be unable to continue to provide services at their facilities and manage

their properties to the detriment of all residents and other stakeholders. Given the Debtors’

circumstances, the Debtors believe that the terms of the DIP Facility, as set forth in the DIP

Documents, are fair, reasonable and adequate, all as more fully set forth herein.

       31.     In the event that a debtor is unable to obtain unsecured credit, section 364(c)(1) of

the Bankruptcy Code provides that the debtor may obtain credit that is secured by an administrative

expense claim having priority “over any or all administrative expenses of the kind specified in

section 503(b) or 507(b) of [the Bankruptcy Code].” As described above, the Debtors are unable

to obtain unsecured credit. Therefore, approving the superpriority claim in favor of the DIP Lender

is reasonable and appropriate. Further, subsections 364(c)(2) and (c)(3) of the Bankruptcy Code

provides that a debtor may obtain credit that is secured by lien on property of the estate that is not

otherwise subject to a lien or secured by a junior lien on property of the estate that is subject to a

lien. As the Debtors are unable to obtain the critical financing that they need to administer these



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Chapter 11 Cases from any other source, the Debtors respectfully represent that granting DIP Liens

to the DIP Lender on unencumbered property and/or on a junior lien basis is warranted under the

circumstances.

       C.        The DIP Financing is Necessary to Preserve the Value of the Debtors’ Estates.

                 32.    The Debtors have liquidity needs and require financing to fund the

administration of these bankruptcy cases. The DIP Facility will ensure that ongoing business

operations and critical resident care can continue without disruption pending a sale of the

businesses as a going concern. Among other things, the proceeds from the DIP Facility, together

with anticipated cash flow from operations, will be used to honor employee wages and benefits,

procure goods and services integral to the Debtors’ ongoing business operations, fund certain

operational expenses, and allow the Debtors to maintain favorable relationships with its vendors,

suppliers, employees, residents, and satisfy working capital needs in the ordinary course of

business. In addition, the DIP Financing provides CMC II with sufficient liquidity to continue

performing its contractual obligations under its management agreements with the other Managed

SNFs. Moreover, the DIP Facility provides for a value-maximizing sale process, as contemplated

by the Milestones.

       33.       The Debtors have determined that the DIP Facility provides the best and only option

under the circumstances to fund these Chapter 11 Cases, continue to operate their facilities for the

benefit of the residents, and provide a clear path towards a going concern sale to maximize the

value of the Debtors’ assets for all stakeholders. Approval of the DIP Facility will avoid immediate

and irreparable harm to the Debtors’ Estates.




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       D.      The Terms of the DIP Financing are Fair, Reasonable, and Appropriate.

       34.     After appropriate investigation and analysis, the Debtors have concluded that the

DIP Facility presents the best terms available under the circumstances. Bankruptcy courts

routinely defer to a debtor’s business judgment on substantive business decisions, including the

decision to borrow money, unless such decisions fail the arbitrary and capricious standard. See

Ames, 115 B.R. at 40 (court should approve borrowings pursuant to § 364(c) and (d) if the debtor

was within its business judgment); In re Mid-State Raceway, Inc., 323 B.R. 40, 58–59 (Bankr.

N.D.N.Y. 2005) (same); see also In re Trans World Airlines, Inc., 163 B.R. 964, 974 (Bankr. D.

Del. 1994) (noting that approval of an interim loan, receivables facility, and asset-based facility

“reflect[ed] sound and prudent business judgement… [was] reasonable under the circumstances

and in the best interest of [the debtor] and its creditors.”). Indeed, “more exacting scrutiny would

slow the administration of the Debtor’s estate and increase its cost, interference with the

Bankruptcy Code’s provision for private control of administration of the estate and threaten the

court’s ability to control a case impartially.” Richmond Leasing Co. v. Capital Bank, N.A., 762

F.2d 1303, 1311 (5th Cir. 1985) (citations omitted).

       35.     The terms and conditions of the DIP Facility are fair and reasonable. As discussed

above, the Debtors properly assessed their financing needs and the DIP Term Sheet, and in the

sound exercise of the Debtors’ business judgment, the DIP Facility represents the best and only

option available under the circumstances. The DIP Lender has agreed to provide DIP Financing

on favorable terms that are below or at market. The Debtors’ advisors, the CRO, and the

Independent Manager, on the one hand, and the DIP Lender and its advisors on the other hand,

negotiated the terms of the DIP Facility at arm’s length. The outcome of those negotiations

resulted in, among other things, PIK interest, more favorable milestones, a revised maturity date



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and a higher facility amount. Indeed, the DIP Facility provides narrowly tailored relief. The Dip

Facility does not contain a “roll-up” of any pre-petition debt and contains a limited release of the

DIP Lender, solely for claims and cause of action related to the DIP Facility.

       36.     The proposed DIP Facility subjects the security interests and secured claims of the

DIP Lender to the Carve-Out, thereby ensuring that, in the event of a default under the DIP

Documents, the Debtors’ estates and other parties-in-interest are not directly or indirectly deprived

of possible rights and powers by restricting the services for which professionals may be paid in

these cases. In Ames, the Court found such carve-outs for professional fees not only reasonable,

but necessary to ensure that official committees and the debtors’ estate could retain assistance from

counsel. See Ames, 115 B.R. at 38–40 (“Absent such protection, the collective rights and

expectations of all parties-in-interest are sorely prejudiced.”).

       37.     Further, the negotiated DIP Milestones are a crucial element of the terms of the DIP

Facility, and their inclusion in the Interim Order is important to ensure that the Chapter 11 Cases

proceed in a strategic, value-maximizing fashion for the benefit of all parties-in-interest, including

the residents. In similar contexts, this Court has entered interim financing orders that included

express milestones for the progress of a debtor’s case. See, e.g., In re Horsehead Holding, Case

No. 16-10287 (CSS) (Bankr. D. Del. Feb. 4, 2016) [Docket No.81] (approving case milestones in

the interim DIP financing order); In re Verso Corp., Case No. 16-10163 (KG) (Bankr. D. Del. Jan.

27, 2016) [Docket No.105] (same); In re Cal Dive Int’l, Case No. 15-10458 (CSS) (Bankr. D. Del.

Mar. 9, 2015) [Docket No.74] (same); In re ADI Liquidation, Inc. (f/k/a AWI Delaware, Inc.), Case




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No. 14-12092 (KJC) (Bankr. D. Del. Sept. 10, 2014) [Docket No.58] (same); In re Handy

Hardware Wholesale, Inc., Case No. 13-10060 (MFW) (Bankr. D. Del. Jan. 14, 2013) (same).4

         38.     Finally, this Court has previously approved DIP facilities where the parties to the

financing had entered into a binding term sheet rather than a full credit agreement. See, e.g.,

Consolidated Infrastructure Group, Inc., Case No. 19-10165 (BLS) (Bankr. D. Del. Jan. 31, 2019);

In re Alcor Energy, LLC, Case No. 18-12839 (CSS) (Bankr. D. Del. Dec. 21, 2018) [Docket No.27]

(authorizing DIP financing pursuant to a binding term sheet); In re ABT Molecular Imaging, Inc.,

Case No. 18-11398 (LSS) Bankr. D. Del. June 15, 2018) [Docket No.33] (same); In re Outer

Harbor Terminal, LLC, Case No. 16-10283 (LSS) (Bankr. D. Del. Feb. 9, 2016) [Docket No.52].

Thus, for these reasons and the reasons set forth above, the DIP Facility on the terms set forth in

the DIP Term Sheet should be approved.

         E.      Modification of the Automatic Stay is Appropriate.

         39.     Section 362 of the Bankruptcy Code provides for an automatic stay upon the filing

of a bankruptcy petition. The DIP Documents require a modification of the automatic stay to

implement the terms of the DIP Financing.

         40.     Stay modification provisions of this kind are ordinary and standard features of

postpetition DIP financing facilities and, in the Debtors’ business judgment, are reasonable under

the present circumstances. As noted above, the Debtors are unable to obtain unsecured credit

allowable as an administrative expense under section 503(b)(1) of the Bankruptcy Code in an

amount sufficient and readily available. Further, the Debtors have not been able to obtain DIP

financing on terms more favorable than those proposed herein. The terms and conditions of the



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    The referenced orders are voluminous in nature and are not attached to this Motion. However, in light of the
    requirements of Local Rule 7007-2(a)(vii), undersigned counsel has retained copies of each order and will make
    them available to the Court, if requested, or to any party that requests them.

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DIP Financing, including the modification of stay provisions, are fair and reasonable, and were

negotiated in good faith and at arms’ length by parties represented by sophisticated counsel.

Accordingly, in light of the circumstances and the material benefits afforded to the Debtors by the

DIP Financing, the modification of the automatic stay is warranted and appropriate.

       F.      The DIP Lender Should be Deemed a Good-Faith Lender Under Section
               364(e).

       41.     Section 364(e) of the Bankruptcy Code protects a good-faith lender’s right to

collect on loans extended to a debtor, and its right in any lien securing those loans, even if the

authority of the debtor to obtain such loans or grant such liens is later reversed or modified on

appeal. Section 364(e) of the Bankruptcy Code provides that:

               The reversal or modification on appeal of an authorization under this
               section [364 of the Bankruptcy Code] to obtain credit or incur debt,
               or of a grant under this section of a priority or a lien, does not affect
               the validity of any debt so incurred, or any priority or lien so granted,
               to an entity that extended such credit in good faith, whether or not
               such entity knew of the pendency of the appeal, unless such
               authorization and the incurring of such debt, or the granting of such
               priority or lien, were stayed pending appeal.

       42.     Here, the DIP Documents are the result of the Debtors’ reasonable and informed

determination that the DIP Lender offered the most favorable terms on which to obtain needed

postpetition financing, and of extended arms’ length, good-faith negotiations between the Debtors

and the DIP Lender. The terms and conditions of the DIP Documents are reasonable and

appropriate under the circumstances, and the proceeds of the DIP Facility will be used only for

purposes that are permissible under the Bankruptcy Code. Further, no consideration is being

provided to any party to the DIP Documents other than as described herein. Accordingly, the

Court should find that the DIP Lender is a “good faith” lender within the meaning of section 364(e)

of the Bankruptcy Code and are entitled to all of the protections afforded by that section.



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         G.       The Debtors Should be Authorized to Pay the Fee Required by the DIP Lender
                  Under the DIP Documents.

         43.      Under the DIP Documents, the Debtors have agreed, subject to Court approval, to

pay a commitment fee to the DIP Lender. In particular, the Debtors have agreed to pay a fee equal

to 2% of the outstanding DIP Obligations, payable at maturity. The fee associated with obtaining

the DIP Facility is usual and customary and within the range of reasonableness. Indeed, courts

routinely authorize debtors to pay fees similar to those the Debtors propose to pay, where the

associated financing is, in the debtor’s business judgment, beneficial to the debtor’s estate. See,

e.g., In re EveryWare Global Inc., No. 15-10743 (LSS) (Bankr. D. Del. April 8, 2015) (approving

1.0% backstop fee, 2.0% original issue discount, and exit conversion fee payable in the form of

common stock in an amount equal to 10% of the pro forma common stock); In re Aleris Int’l. Inc.,

No. 09-10478 (BLS) (Bankr. D. Del. Mar. 18, 2009) (approving 3.5 percent exit fee and 3.5

percent front-end net adjustment against each lender’s initial commitment); In re Dura Auto. Sys.,

Inc., No. 06-11202 (KJC) (Bankr. D. Del. Jan. 30, 2008) (approving 2.5 percent fee related to

refinancing and extending a postpetition financing facility).5 Accordingly, the Court should

authorize the Debtors to pay the fee provided under the DIP Documents in connection with

entering into those agreements.

         H.       A Final Hearing Should be Set.

         44.      Pursuant to Bankruptcy Rules 4001(b)(2) and 4001(c)(2), the Debtors request that

the Court set a date for the Final Hearing as soon as practicable, but in no event later than thirty

(30) days following the Petition Date.




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    Because of the voluminous nature of the orders cited herein, such orders are not attached to this motion. Copies of
    these orders are available upon request of the Debtors’ proposed counsel.


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       45.     The Debtors request authorization to serve a copy of the signed Interim Order,

which fixes the time and date for the filing of objections, if any, by first class mail upon the notice

parties set forth below. The Debtors request that the Court consider such notice of the Final

Hearing to be sufficient notice under Bankruptcy Rule 4001.

       I.      The Requirements of Bankruptcy Rule 6003 are Satisfied.

       46.     Bankruptcy Rule 6003 empowers a court to grant relief within the first twenty-one

(21) days after the petition date “to the extent that relief is necessary to avoid immediate and

irreparable harm.” For the reasons discussed above, authorizing the Debtors to obtain postpetition

secured financing under the DIP Facility and modifying the automatic stay imposed by section 362

of the Bankruptcy Code to the extent necessary to implement and effectuate the terms of the

Interim Order and the DIP Facility, as well as granting the other relief requested herein, is integral

to the Debtors’ ability to continue operations and paying their obligations as they become due,

thereby avoiding any threat to the health safety and welfare of the Debtors’ residents. Failure to

receive such authorization during the first twenty-one (21) days of these Chapter 11 Cases would

severely hamper the Debtors’ ability to ensure a smooth entry into chapter 11 at this critical

juncture, destroying value and irreparably harming all parties in interest.

       47.     For the reasons discussed herein, this relief is necessary in order for the Debtors to

maximize the value of their estates for the benefit of all stakeholders. Accordingly, the Debtors

submit that it has satisfied the “immediate and irreparable harm” standard of Bankruptcy Rule

6003 to support granting the relief requested herein.

       J.      Bankruptcy Rule 6004(a) Should be Waived.

       48.     To implement the foregoing successfully, the Debtors request that the Court enter

an order providing that notice of the relief requested herein satisfies Bankruptcy Rule 6004(a).



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       49.     The Debtors further seek a waiver of any stay of the effectiveness of the order

approving this Motion. Pursuant to Bankruptcy Rule 6004(h), “[a]n order authorizing the use,

sale, or lease of property other than cash collateral is stayed until the expiration of 14 days after

entry of the order, unless the court orders otherwise.” As set forth above, the DIP Financing is

essential to prevent potentially irreparable damage to the Debtors. Accordingly, the Debtors

submit that ample cause exists to justify a waiver of the fourteen (14) day stay imposed by

Bankruptcy Rule 6004(h), to the extent it applies.

                                 RESERVATION OF RIGHTS

       50.     Nothing contained herein is, is intended to be, or should be construed as an

admission regarding the validity of any claim against the Debtors, a waiver of the Debtors’ right

to dispute any claim, or an approval or assumption of any agreement, contract, or policy under

section 365 of the Bankruptcy Code. The Debtors expressly reserve their right to contest any claim

related to the relief sought herein. Likewise, should the Court grant the relief sought herein, any

payment made pursuant to an order of the Court is not, is not intended to be, and should not be

construed as an admission as to the validity of any claim or a waiver of the Debtors’ rights to

subsequently dispute such claim.

                                              NOTICE

       51.     Notice of this Motion will be provided to: (i) the Office of the United States Trustee

for the District of Delaware; (ii) the United States Attorney for the District of Delaware; (iii) the

parties included on the Debtors’ consolidated list of thirty (30) largest unsecured creditors; (iv) the

Internal Revenue Service; (v) the Securities and Exchange Commission; (vi) counsel to the

proposed DIP Lender; and (vii) all known holders of liens in the Debtors’ assets; (viii) counsel to

the plaintiffs in the case captioned U.S.A. ex rel. Angela Ruckh v. CMC II, LLC et al., and (ix) the


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Debtors’ landlords. As this Motion is seeking “first day” relief, notice of this Motion and any

order entered in connection with the Motion will be served on all parties required by Local Rule

9013-1(m). Due to the urgency of the circumstances surrounding this Motion and the nature of

the relief in it, the Debtors respectfully submit that no further notice of this Motion is required.

        WHEREFORE, the Debtors respectfully request that the Court enter: (i) the Interim Order,

substantially in the form attached hereto as Exhibit A, granting the relief requested herein on an

interim basis; (ii) the Final Order granting the relief requested herein on a final basis; and (iii) grant

such other and further relief as the Court may deem just and proper.

Dated: March 2, 2021                    CHIPMAN BROWN CICERO & COLE, LLP
       Wilmington, Delaware


                                                /s/ William E. Chipman, Jr.
                                                William E. Chipman, Jr. (No. 3818)
                                                Robert A. Weber (No. 4013)
                                                Mark L. Desgrosseilliers (No. 4083)
                                                Mark D. Olivere (No. 4291)
                                                Hercules Plaza
                                                1313 North Market Street, Suite 5400
                                                Wilmington, Delaware 19801
                                                Telephone: (302) 295-0191
                                                Facsimile:     (302) 295-0199
                                                Email:         chipman@chipmanbrown.com
                                                               weber@chipmanbrown.com
                                                               desgross@chipmanbrown.com
                                                               olivere@chipmanbrown.com

                                                Proposed Counsel to the Debtors and
                                                Debtors-In-Possession




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